           Case 4:14-cr-00003-MFU                   Document 179 Filed 05/14/15                     Page 1 of 6            Pageid#:                '
                                                                506                                               ek:Rif:e'Fle:gg4u:1*.* j/-
  AO2458     (Rev.9/11-VAW Additbns6/05)JudgmentinaCriminalCase                                                            AT ;ANVIL.kl 9% ';
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                                           TED STATES DISTRICT C0                                       T                  XX 1d 315
                                               W estern D istrictofV irginia                                        BY
                                                                                                                     J:ULIA           D 'c   ,,.
                                                                                                                                  .
                                                                                                                             EP
         UNITED STATESOFAMERICA                                           JUDGM ENT IN A CRIM INAI,CASE
                          V.                                              caseN um ber: DVAW 414CR000003-005
      TIM OTHY LAM ONT M ITCHELL                                          Case N tlm ber:
                                                                          U SM N um ber: 18476-084

                                                                          RobertFrankRider                    .
                                                                          Defendant'sAttorney
THE DEFENDAN T'
              .
K pleadedguiltytocountls) 1,18and19
Z pleadednolocontenderctocountts)
   whichwasacceptedby thecourt.
EEIwasfoundguiltyoncountts)
   aherapleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
 Title& Section              NatureofOffense                                                            Offense Ended             C ount
21U.S.C.j846          Conspiracy to Distribute and Possesswith Intentto Distribute 5                      6/19/2014                    1
                      K ilogram sofCocaine,aSchedule11ControlledSubstance
21U.S.C.j841(a)(1) DistributeCocaineBase,aSchedule11ControlledSubstance                                   10/24/2012                  18

21U.S.C.j841(a)(1) DistributeCocaineBase,aSchedule11ControlledSubstance                                   11/16/2012                  19


       Thedefendantissentencedasprovidedinpages2through                       6         ofthisjudgment.Thesentenceisimposedpursuantto
theSentencingReform Actof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
K Countts)               20                 X is Z aredismissedonthemotionoftheUnitedStates.
     ililtisorderedthatthedefendptmustnotifytheUnltedSàtesattorpeyforthisdijtrlctwithin30daysofpnychangeofname,reyidepce
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           andtdmu
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                                                                          5/14/2015
                                                                      DateofImpositionofJud ment                                  '
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                                                                     ..            '               $J                                         ,
                                                                     /signahve fludge
                                                                     'x,




                                                                          Jackson L.Kiser,SeniorUnited StatesDishictJudge
                                                                      NameandTitleofJudge


                                                                      Date
           Case 4:14-cr-00003-MFU                  Document 179 Filed 05/14/15               Page 2 of 6       Pageid#:
                                                              507
AO 2458       (Rev.9/11-VAW Addi
                               tions6/05)Judgmenti
                                                 nCriminalCase
              Sheet2-Im prisomnent
                                                                                               Judgment-Page   2   of     6
DEFEN DAN T : TIM OTHY LAM ONT M ITCHELL
CA SE N U M BER :DVAW 4l4CR000003-005


                                                            IM PR ISO N M EN T

       Thedefendantisherebycom mittedtothecustodyoftheUnitedStatesBureauofPrisonstobeim prisonedfora
totalterm of:
   57 m onthson Counts l,18and 19,to be sen'
                                           ed concurrently.




     K ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
     thatthedefendantparticipate in theResidentialDnzg TreatmentProgram whileimprisoned.



     r-l ThedefendantisremandedtothecustodyoftheUnitedStatesM arshal.
     fvl ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
          r-l at                                 IZI a.m. 1-1 pom .
          K     asnotifiedbytheUnitedStatesMarshal.
     r-l ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
         N before            on
          N     asnotifiedbytheUnitedStatesM arshal.
          r7I asnotifiedbytheProbationorPretrialServicesOffice.

                                                                 R ETU R N
 lhaveexecutedthisjudgmentasfollows:




          D efendantdelivered on                                                 to

 a                                                  ,withacertifiedcopyofthisjudgment.


                                                                                            UNITED STATESG RSM L

                                                                      By
                                                                                         DEPUTY UNITED STATESMARSHAL
         Case 4:14-cr-00003-MFU                  Document 179 Filed 05/14/15             Page 3 of 6           Pageid#:
                                                            508

AO2458     (Rev.9/11-VAW Addi
                            tions6/05)Judn entinaCriminalCase
           Sheet3- SupervisedRelease
                                                                                              Judm ent- page   3   of     6
DEFENDANT: TIM OTHY LAMONT MITCHELL
CASE     ER:DVAW 414CR000003-005
                                                  SUPERVISED QELEASE
Uponreleasefrom imprisonment,thedefendantshallbeonsupervisedrelemseforaterm of:
 3 years,consisting of3 yearson each ofCounts 1,18 and 19,allsuch term sto nm concurrently.

         Thedefendantmustreporttotheprobationofficeinthedistrid towhichthedefendantisreleasedwithin 72 hoursofreleasefrom the
custody oftheBureauofPrisons.
Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.
Thedefendantshallnotunlawfully
                             '
                             bppssessacontrolledspbjtance.n edefendantshallrefrain9om anyunlawfuluseofaçontrolled
substance.Thedefepdantshallsu mlttoonedrugtestwlthln 15daysofreleœsefrom imprisonmentandatleasttwoperlodlcdrugtests
thereafter,asdeterm lnedbythecourt.
EEI Theabovedrugtesting condition issuspended,based onthecourt'sdeterminationthatthedefendantposesalow riskof
      futurcsubstanceabuse.(Check,çapplicable.
                                             )
K     Thedefendantshallnotpossessafirearm,smmunition,destructivedevice,orany otherdangerousweapon. (check,fapplicable)
K     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobation oë cer.(Check.çapplicable)
      n edefendantshallcomplywiththerequirementsottheSexOffenderRegistrationandNotitkationAct(42I/.S.C.j16901,qtseqà
      asdirecledbytheprobatlonoffiger,theBlzreapofPrlsons,oranystatesexofen)derregistrationagencyinwhlchheorsheresldes,
      works,lsastudent,orwmsconvlctedofaquallfpngoffenàe. (check,Ifapplicable.
      n edefendantshallpm icipatein anapprovedprogram fordomesticviolence.(check.çapplicable.
                                                                                            )
S       Ifthisjudgmentimposeqafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
 cheduleofPaymentssheetofthlsjudgment.
        Thedefendantmustcomplywith thestandardconditionsthathavebeen adoptedby thiscourtaswellaswithanyadditionalconditions
ontheattachedpage.
                                STAN DARD CO NDITIO NS O F SU PER VISIO N
    1) thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationomcer;
    2) thedefendantshallreporttotheprobationomcerinamannerandfrequencydirectedbythecourtorprobationofticer;
    3) thedefendantshallanswermzthfullyallinquiriesbytheprobationofficerandfollow theinstructionsoftheprobationofficer;
    4) thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
    5) thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobationomcerforschooling,training,orother
        accepàblereasons;
        thedefendantshallnotifytheprobationofficeratleasttendayspriortoany changeinresidenceoremployment;
        thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,useydlstribute,oradpinisterany
        conkolledsubstanceoranyparaphernallarelatedtoanycontrolledsubstances,exceptasprescnbedby aphyslcian;
    8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
    9) f
       thedefendantshallnot%soçialewithanypersonsengagedincriminalactivityandshallnotassociatewithanypersonconvictedofa
        elony,unlessgrantedpermlsslontodosobytheprobatlon officer;
        thedefendantshallpepnitxprqbationoflicertoyisithim orheratanytimeathomeorelsewhereandshallpermitconfiscationofany
        contrabandobserved lnplalnvlew oftheprobatmnom cer;
        thedefendantshallnotifytheprobationofficerwithin seventptwohoursofbeingarrestedorquestionedby alaw enforcementoftker;
        thedçfepdantshallnotenterintoany agreem enttoactasan informeror aspecialagentofalaw enforcem entagencyw ithoutthe
        penm sslon ofthecourt;and

 l3) asdirectedbytheprpbationofficer,thspefendantshallnotifythirdparjesofrisksthatmaybeoccajionejbythedefendant'scriminal
     reecfo
     d     rdorpersonalJustoryprchm'actepstlcsandshallpermittheprobatlonomcertomakesuchnotlficatlonsandtoconfirm the
          endanfscom pllancewlth such notlficationrequirem ent.
           Case 4:14-cr-00003-MFU                Document 179 Filed 05/14/15              Page 4 of 6        Pageid#:
                                                               509
 AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCri
                                                     minalCase
            Sheet3C -SupervisedRelease
                                                                                             Judgment-page    4    of       6
 D EFEN DA N T: TIM OTHY LAM ONT M ITCHELL
 CA SE N UM BER :DVAW 414CR000003-005
                                SPECIAL CO O ITION S OF SUPERVISIO N
1.Thedefendantshallpayanyspecialassessment,fine,and/orrestitutionthatisimposedbythisjudgment.
2.Thedefendantshallparticipatein aprogram oftestingand treae entforsubstanceabuse,asapprovedby theprobationofficer,untilsuch
tim easthedefendanthassatisfied a11requirem entsoftheprogram .
3.Thedefendantshallresideinaresidencefreeoffireanns,amm unition,destructivedevices,anddangerousweapons.
4.Thedefendantshallsubmittowarrantlesssearch andseizureofpersonandpropertyasdirectedby theprobation oftker,todetennine
whetherthedefendantisin possession offireanns,illegalcontrolled substancesand alcohol.
5. The defendantshallnotpurchase,possess,use oradm inisterany alcohol,orfrequentany businessesw hoseprim ary function isto serve
alcoholic beverages.
          Case 4:14-cr-00003-MFU                Document 179 Filed 05/14/15             Page 5 of 6             Pageid#:
                                                              510
A0 2458   (Rev.9/1l-VAW Additions6/05)JudgmentinaCriminalCase
          Sheet5-CriminalMonetaryPenalties
                                                                                      Judgment-Page         5      of      6
DEFEN D AN T: TIM OTHY LAM ON T M ITCHELL
CA SE N U M BER :DVAW 414CR000003-005
                                        CRIM INA L M ONETARY PENAI,TIES
    Thedefendantm ustpaythetotalcrim inalm onetarypenaltiesunderthescheduleofpaymentsonSheet6.

                   A ssessm ent                              Fine                            Restitution
 TOTALS         $ 300.00                                 $                               $


Z Thedeterminationofrestitutionisdeferreduntil            .AnAmendedludgmentinaCriminalCtzçC(AO 245C)willbeentered
     ahersuchdeterm ination.

EEI Thedefendantmustmakerestitution(includingcommunityrestimtion)tothefollowingpayeesintheamountlistedbelow.
     Ifthedefendantm akesapartialpaym ent,each payeeshallreceiveanapproxim ately proportionedpaym ent,unlessspecifiedotherwise
     inthepriorityorderorpercenOgegaymentcolumnbelow.However,pursuantto18U.S.Cj3664(1),allnonfederalvictimsmustbe
     paidbeforetheUnitedStatesispald.
Nam e ofPavee                                   TotalLoss*               Restitution O rdered              Prioritv or Percentage




 TOTALS                                                      $0.
                                                               00                               $0.00

Z    Restimtionamountorderedpursuanttopleaagreement$
EEI Thedefendantmustpayintcrestonrestitutionandafineofmorethan$2,500.unlesstherestitutionorfineispaidinfullbeforethe
    tmeenthdayaAerthedateofthejudgment,pursuantto18U.S.C.j361249.A1lofthepaymentoptionsonSheet6maybesubjed
    topenaltiesfordelinquencyanddefault,pursuantto18U.S.C.j3612(g).
Z Thecourtdderminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
  EEltheinterestrequirementiswaivedforthe EEI fine IZI restitution.
  Z theinterestrequirementforthe EEI Gne EEl restitutionismodifiedasfollows:


 *Findingsforthetotalam ountoflossesarerequiredunderChapters109A,110,1IOA,and 113A ofTitle18 foroffensescomm ittedon
 orafterSeptem ber13,1994,butbeforeApril13,1996.
             Case 4:14-cr-00003-MFU                Document 179 Filed 05/14/15               Page 6 of 6      Pageid#:
                                                              511
AO2458       (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
             Sheet6-ScheduleofPayments

DEFENDANT: TIM OTHY LAM ONT M ITCHELL                                                                 Judgm ent-Page 6 of 6
CA SE NUM BER:DVAW 414CR000003-005
                                                 SCH ED U LE O F PA Y M EN TS
Havingassessedthedefendant'
                          sabilitytopay,thetotalcrim inalmonetarypenaltiesaredueimm ediately andpayableasfollows:
AI K Lumpsumpaymentof$300.00               immediately,balancepayable
         EEI notlaterthan                       ,or
         I
         ZI inaccordance       Z C, Z D, IZIE, EEIF or,Z G bdow);or
B EEJ Pam enttobeginimmediately(maybecombinedwith E)C, EEID, Z F,or Z G below);or
c L Paymentinequal                       (e.g.,weekly,monthly,quarterly)installmentsof$                           overapeliodof
                          (e.g.,monthsoryears),tocommence                       (e.g.,30or60days)afterthedateofthisjudgment;or
D (Z) Paymentinequal                                  @.g.,weekly,monthly,quarterly)installmentsof$               overaperiodof
                          (e.g.,monthsoryears),tocommence                       (e.g.,30or60days)afterreleasefrom imprisonmenttoa
         tenn ofsupervision;or
E IZ Paymentduringtheterm ofsupervisedreleasewillcommencewithin                             (e.
                                                                                              g.,30or60days)afterreleasefrom
         im prisonm ent.Thecourtw illsetthepaym entplanbased on anassessm entofthedefendant'sabilitytopay atthattim e;or
y' EZI Duringtheterm ofimprisonment,paymentinequal                            (e.g.,weekly,monthly,quarterly)instllmentsof
         $                  ,or           % ofthedefendant'sincome,whicheveris.greater
                                                                                 .tocommence                  (e.g.,30or
         60days)afterthedateofthisjudgment;AND papnentinequal                     (e.
                                                                                    g.,weekly,monthly,quarterly)
         installmentsof$               duringthetennofsupervisedrelease,tocommence                   (e.g.,30or60days)
         aûerrelease from imprisonm ent.
G E1 Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:

Anyinstallmentscheduleshallnotprecludeenforcementoftherestitutionorfineorderby theUnitedStatesunder18U.S.C jj3613and
3664(n$.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotifytheprobation officerandtheU .S.Attorneyofanychangeinthedefendant'seconom iccircumstancesthatm ayaffectthe
defendant'sabilitytopay.
Allcrim inalm onetarypenaltiesshallbem adepayabletotheClerk,U.S.D istrictCourt,210FrfmklinRd.,Suite540,Roanoke,Virginia24011,
fordisbursem ent.
The defendantshallreceive creditforal1paym entspreviously m adetoward any crim inalm onetarypenaltiesimposed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.
  Z JointandSeveral
     DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmotmt,and
     corresponding payee,ifappropriate.




  Z Thedefendantshallpaythecostofprosecution.
  I
  ''
   -IThedefendantshallpaythefollowingcourtcostts):
  N Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:




 Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fineprincipal,
 (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
